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PROB l2C - (Rev. D/NM-8/2014)                                                                             243322

                                   UNITED STATES DISTRICT COURT
                                              FOR THE
                                      DISTRICT OF NEW MEXICO

                                Petition for Revocation of Supervised Release
Name of Offender:                Danielle McKee
Docket Number:                     1084 2:13CR02861 -002RB
Assigned Judge:                   Honorable Robert C. Brack, United States District Judge
Date of Original Sentence:        08104/2015
Original Offense:                 21 U.S.C. 846: Conspiracy to Possess with the Intent to Distribute a Mixture
                                  and Substance Containing a Detectable Amount of Methamphetamine 2l
                                  U.S.C. 8a1(a)(1) and 2l U.S.C. 841(bXlXC): Possession With Intent to
                                  Distribute a Mixture and Substance Containing a Detectable Amount of
                                  Methamphetamine 21 U.S.C. 8a1(a)(l) and 2l U.S.C. 8a10)(lXC):
                                  Possession With Intent to Distribute a Mixture and Substance Containing a
                                  Detectable Amount of Methamphetamine
Original   Sentence:              BOP: 41 Months; TSR: 3 Years
Date Supervision                  08119/2016
Commenced:
Date Supervision Expires:         0811812019
Other Court Action:               None



                                         PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Luis Rodri goez, alleges the offender has violated the following condition(s)
of supervised release.

Violation      Nature of Noncompliance
Type
SPC            The defendant must participate in and successfully complete an outpatient substance abuse
               treatment program approved by the probation officer, which may include testing. The
               defendant is prohibited from obstructing or attempting to obstruct or tamper, in any fashion,
               with the collection, efficiency and accuracy of any substance abuse testing device or
               procedure. The defendant may be required to pay a portion of the cost of treatment and/or drug
               testing as determined by the Probation Office.

               The United States Probation Office for the District of Arizona reported the defendant failed to
               attend the following substance abuse counseling sessions: October 5,2016; October 20,2016;
               October 27,2016; and November 77,2016.

SPC            The defendant must participate in and successfully complete an outpatient mental health
               treatment progfirm approved by the probation officer. The'defendant may be required to pay a
               portion of the cost of this treatment as determined by the probation officer.

               The United States Probation Office for the District of Arizona reported the defendant failed to
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               attend the following mental health counseling sessions: October 5,2016;
                                                                                       October 20,2016;
               October 21,2016; and November 77,2016.

SC             The defendant shall not leave the judicial district without the permission of the court or
               probation officer.

                                                                                                          29,
               The United States probation Office for the District of Arizona reported that on December
                                                                                                          had
                Z0l6,the defendant made telephonic contact with her supervising officer and  reported she
               left the District of Arizona without permission and had retumed to New Mexico to live. On
               January 3, ZOl7 , the defendant againmade telephonic contact with the supervising officer
                                                                                                          and
               reported she was now living at 1809 Park Alamogordo, New Mexico 88310'

SC             The defendant shall notifii the probation officer at least ten days prior to any change in
               residence or employment.

               The United States probation Office for the District of Arizona reported that on November 29,
               Z1l6,the defendant's supervising officer conducted a home visit to the defendant's apartment
               and encountered an apartment maintenance crew who were working on the apartment. The
               apartment maintenance crew advised the officer that the apartment had been abandoned and
               da*ag"a. The officer entered the apartment and observed holes and writing on the walls and
               confirmed that the apartment was vacant and abandoned. The defendant never notified the
               supervising officer ofa change in residence.



The maximum statutory penalty: 2 years imprisonment; 3 years supervised release.
The revocation range of imprisonment: 4 to 10 months.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 0112612017 .


Submitted:                                                  Approved:                       X   Phone Approval




Luis Rodri                                                  Alfred Perez
                                                            (5ts) 323-s23e
                                                            Assistant U.S. AttorneY


                                                            Date:0112612017
